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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                  FT LAUDERDALE DIVISION

 CASE NO.

     JUAN CARLOS GIL,

           Plaintiff,

     v.

     BROWARD COUNTY PUBLIC SCHOOLS,

           Defendant,


               COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF


          COMES NOW, Plaintiff, Juan Carlos Gil (“Plaintiff), by and through his undersigned

 counsel, and hereby sues Defendant, Broward County Public Schools (“Defendant”) for

 declaratory and injunctive relief, attorney’s fees and costs (including, but not limited to, court

 costs and expert fees) pursuant to Title II of the Americans with Disabilities Act of 1990, as

 amended, 42 U.S.C. §§ 12131 et. seq. (“ADA”) and Section 504 of the Rehabilitation Act of

 1973, 29 U.S.C. § 794 ("Section 504”), and alleges as follows:

                                            INTRODUCTION

          1.   “Il n'y a que deux puissances au monde, le sabre et l'esprit : à la longue, le sabre est

 toujours vaincu par l'esprit1”, and one must be informed to understand their peril. Florida began

 its tradition of openness back in 1909 with the passage of Chapter 119 of the Florida Statutes2.

 This statute requires that any records made or received by any public agency in the course of its


 1
   There are only two powers in the world, the sword and the spirit: in the long run, the sword is always
 defeated by the spirit. Napoleon Ier (1789-1821)
 2
   Public Records Law

                                                      1
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 official business are available for inspection.

        2.   This is an action under Title II of the Americans with Disabilities Act of 1990 and

 under Section 505 of the Rehabilitation Act of 1973 through which Section 504 of the

 Rehabilitation Act of 1973 (“Rehabilitation Act”) is enforced to redress unlawful disability-

 based practices and to make Plaintiff Juan Carlos Gil whole.

        3.   Broward County Public Schools is a public entity which has provided the website

 URL http://browardschools.com as an information portal (“Portal”) for the general public (to

 anyone who accesses the Portal). The general public is able to access Broward County Public

 Schools educational online content, which constitutes programs, services, and activities. Much

 of that content is provided in portable document format (“PDF”).

        4.   In order to meaningfully access PDF documents (also referenced as electronic

 documents), blind and visually impaired individuals require that electronic documents be saved

 in an accessible format. Much of the content provided in electronic (PDF) format within

 Defendant’s Website is not accessible by persons who are visually impaired and who utilize

 screen readers.

        5.   Because Defendant’s online electronic document content is not available for

 persons who are blind or low sighted, Defendant has denied Plaintiff, Juan Carlos Gil access to

 that electronic (PDF) content. As such, Defendant has denied access to Plaintiff based on

 Plaintiff’s disability (being low sighted and/or blind). In so doing, Defendant has denied

 Plaintiff his fundamental right to observe and participate in the democratic process of self-

 government. A citizen’s right to meaningful participation in the political process and to access

 publicly available information needed to participate in the process is a fundamental right

 requiring heightened scrutiny. Johnny Reininger, Jr. v. State of Oklahoma, Case No.: 5:16-cv-


                                                   2
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 012141 (November 9, 2017) and Natl Association of the Deaf (NAD) v State of Florida 18-cv-

 21232-UU [DE #28] (June 18, 2018).

        6.    Plaintiff brings this action against the Defendant to enforce the requirement of

 Section 504 of the Rehabilitation Act that a public entity receiving federal financial assistance

 (which Defendant receives each year) must not deny persons with disabilities the benefits of its

 programs, services and activities.

        7.    By failing to provide electronic documents in accessible format, Defendant has

 deprived blind and visually impaired individuals of the benefits of its online content, which

 benefit is afforded to sighted (non-disabled) individuals. As such, Defendant has increased the

 sense of isolation and stigma that the ADA and Section 504 were meant to redress for

 individuals with disabilities.

        8.    Defendant’s denial of much of its publicly available online content to blind and

 visually impaired individuals violates Section 504 of the Rehabilitation Act and Title II of the

 ADA.

        9.    Accordingly, Plaintiff seeks injunctive and declaratory relief to ensure that blind

 and visually impaired individuals have equal, effective and timely access to Defendant’s

 publicly available online content (consisting of electronic documents).

                                  JURISDICTION AND VENUE

        10. Plaintiff is expressly authorized to bring this action pursuant to Title II of the

 Americans With Disabilities Act, 42 U.S.C. §§ 12131-12133 (“ADA”), incorporating by

 reference the remedies, procedures and rights under Sections 504 of the Rehabilitation Act of

 1973, 29 U.S.C. §§ 794, 794(a) ("Section 504”), incorporating the remedies, rights and

 procedures set forth in §717 of the Civil Rights Act of 1964, including the application of §§


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 706(f) through 706(k), 42 U.S.C. § 2000e-5(f)-(k).

          11. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and 42

 U.S.C. § 12188. This Court’s jurisdiction is proper under 28 U.S.C. Section 451, 1331, 1337,

 and 1343.

          12. Plaintiff has met all conditions precedent to bring this action.


                                                     PARTIES

 Juan Carlos Gil

          13. Plaintiff Juan Carlos Gil is a resident of the State of Florida, resides within the

 Southern Judicial District, is sui juris, is disabled and a qualified individual as defined by the

 ADA.

          14.      Plaintiff is legally blind and a member of a protected class under the ADA, 42

 U.S.C. § 12102(1)-(2), the regulations implementing the ADA, and as set forth at 29 USC

 §705(20). Plaintiff suffers optic nerve damage and is legally blind. Plaintiff also suffers from

 cerebral palsy, is unable to walk, and is confined to a wheelchair. Plaintiff is substantially limited

 in the major life activity of seeing. Plaintiff’s disability is defined in 28 C.F.R. § 36.105(b)(2)

 and 28 C.F.R. §§ 36.105(2)(iii)(B) and (D).

          15.      Plaintiff is an athlete who travels for his athletic triathlon endeavors, and also is

 an advocate for the rights of blind and wheelchair bound disabled individuals.3

          16.       In the past year, Plaintiff has traveled to Arizona, Orlando, and Boston to attend

 various conventions and meetings to advance the rights of the disabled. Such events include, but


 3
  Juan Carlos Gil has traveled to speak on disabled rights, written letters, and mentored other disabled individuals as
 well as being the Plaintiff in the Landmark Historic federal trial over Web Accessibility (Juan Carlos Gil v Winn
 Dixie      Stores,      Inc.      No.      16-cv-23020);               See       press     release       on      case:
 www.prweb.com/releases/2017scottrdinin/06civilrights/prweb14437034.htm


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 are not limited to, the National Federation for the Blind convention in Orlando4, the American

 Counsel for the Blind conferences5 and various focus groups and meetings throughout the east

 coast (including New York and Boston).

            17. Plaintiff is an otherwise qualified individual with a disability in that Plaintiff is

 qualified to access Defendant’s electronic documents.

            18. Due to his disability, the Plaintiff requires that document information be saved in

 an accessible format such as HTML or an accessible electronic (PDF) format so that he can

 comprehend (read) that document with screen reader software.

     Broward County Public Schools

            19. On October 2, 1899, the first two public schools in what would one day become

 Broward County, opened their doors. Since then, Broward County Public Schools has become

 the sixth largest school district in the nation and is the second largest in Florida. The Broward

 County Public School system serves approximately 271,500 students and more than 175,000

 adult students in 234 schools, centers and technical colleges, and 93 charter schools.

            20. Defendant operates the Portal where interested persons are able to view the latest

 updates regarding the Broward County public educational system. Defendants Portal contains

 pertinent information that students and parents of students alike, are able to locate matters

 which are discussed, debated and voted upon by the School Board of Broward County, Florida.

            21. Since Defendant is a public entity and conducts its business as an agency and

 instrumentality of Broward County/State of Florida, it is subject to Title II of the ADA. 42

 U.S.C. § 12131(1).


 4
     July 2017, 2018
 5
     In 2017 (Nevada) and in 2018 (Wisconsin)

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              22. On information and belief, Defendant is also a recipient of federal funds and as

 such, is also subject to the requirements of Sections 504 of the Rehabilitation Act of 1973.

                                                GENERAL ALLEGATIONS

              23. Defendant offers a service through its online portal at www.browardschools.com

 (“portal”) where interested persons can obtain relevant information regarding Broward County

 Public Schools. Plaintiff is as such an interested person.

              24. Defendant’s portal provides pertinent information on attending and learning more

 about Broward County Public Schools, linking to documents in electronic format including (but

 not limited to): a guide to Defendants Aviation Magnet Program6, 2016/17 Strategic Plan –

 Moving Forward On The Right Path progress report7, 2018/19 Year Round School Calendar8,

 and Handbook for School Volunteer Liaisons9. These types of documents are made available by

 Defendant to generally inform the public of the services provided by Defendant, therefore these

 type of electronic documents are referenced throughout as “(electronic) service documents.”

              25. Defendant’s Website also contains electronic documents, which provide

 information on Broward County Public Schools, policies and positions which affect students,

 families of students and faculty directly. A sampling of those links to electronic “policy”

 documents (which are also referenced as “electronic documents”) is provided below:

             •    The Code Book for Student Conduct handbook10, which provides significant
                  information on what is and is not appropriate in school, during school-sponsored
                  activities and on school bus transportation;


 6
  https://docs.google.com/viewerng/viewer?url=https://www.browardschools.com//cms/lib/FL01803656/Centricity/Domain/11365/Aviation-Ppt-
 10-14-16.pdf
 7
     https://www.browardschools.com/cms/lib/FL01803656/Centricity/domain/12471/docs/2017_BCPS_Strat_Plan_L8_3-30-2018.pdf
 8
     https://www.browardschools.com/cms/lib/FL01803656/Centricity/Domain/4/2018-19%20School%20Calendar_color_final.pdf
 9
     https://www.browardschools.com/cms/lib/FL01803656/Centricity/Domain/12465/Handbook_for_Volunteer_Managers.pdf
 10
  https://www.browardschools.com/cms/lib/FL01803656/Centricity/Domain/13726/FINAL%20SY%202018-
 19%20Code%20Book%20for%20Student%20Conduct.pdf


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              •    2017 Annual Status Report of the Second Amended Interlocal Agreement for Public
                   School Facility Planning11, which addresses the coordination of growth management
                   issues and the provision and availability of public school facilities in Broward
                   County;
              •    Accounting Procedures for Independent School-Related Fundraisers12, which details
                   student activities that are recognized in State Regulations and School Board Policy
                   as serving to promote the education, general welfare, moral of students.


              26. Defendant’s portal also has publications which are embedded in PDF (electronic)

 format. Those publications contain information on a variety of Broward County Public School

 matters. A few of the publications provided to the public by Defendant include (but are not

 limited to): SMART August, 2018 Newsletter13, Guide to Private Colleges and Universities of

 Florida14, and Service Learning Student Volunteer Program guidelines15. These publication

 documents are made available by Defendant to generally inform the public of the services or

 programs provided by Defendant, therefore these type of electronic documents are also

 referenced throughout as “(electronic) service documents.”

              27. Defendant’s online portal at https://webappe.browardschools.com/eagenda/ permits

 interested persons the ability to view the Broward County Public School Board meeting agenda

 history from the year 2001 to the present date.

              28. Defendants School Board meetings make up the bulk of Defendant’s published

 agenda history. Defendants School Board meetings have a direct effect on the lives of students,

 families of students and interested persons seeking to attend one of Broward County’s Public


 11
   https://www.browardschools.com/cms/lib/FL01803656/Centricity/Domain/13479/5.1%20-
 %20Draft%202017%20Annual%20Report%20on%20Implementation%20of%20Second%20Amended%20ILA%20Provisions_.pdf
 12
      http://browardschools.com/SiteMedia/Docs/PRGA/accountingprocedures2011.pdf
 13
  https://www.browardschools.com/cms/lib/FL01803656/Centricity/Domain/13351/SMART%20Update_%20Published%20August%202018%20
 FINAL.pdf
 14
      https://www.browardschools.com/cms/lib/FL01803656/Centricity/Domain/10451/private%20fl%20colleges%20guide%202015-16.pdf

 15
      https://www.browardschools.com/cms/lib/FL01803656/Centricity/Domain/14502/SVS%20Brochure_2018-19_final.pdf

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 Schools. Interested persons can become informed about the effect of the Broward County

 Public School Board meetings and the resulting policies, budgets, and services online by

 viewing the electronic documents generated, which reflect the decisions made by Broward

 County Public School Board members through this Portal. Interested persons are able to view a

 plethora of documents related to the policies and procedures voted on by the Defendants School

 Board members (hereinafter referenced as “(electronic) agenda documents”) through this

 Portal.

           29. In today’s tech-savvy world, blind or visually-impaired persons have the ability to

 access websites using keyboards in conjunction with screen access software that vocalize the

 visual information found on the screen. Defendants School Board meeting agendas contain

 links to documents in electronic format that Plaintiff and other similarly situated individuals

 with vision disability are unable to fully and equally access. Examples of a few links to

 documents in electronic document format from the April 24, 2018 Regular School Board

 Meeting Agenda are provided herein below:

           •   Regular School Board Meeting Agenda for April 24, 2018, item E-3,
               Recommendation      of     $500,000     or    less  for   Library     Materials
               http://www.broward.k12.fl.us/supply/agenda/58-039N_LibraryMaterials.pdf;
           •   Regular School Board Meeting Agenda for April 24, 2018, item EE-1,
               Recommendation of $500,000 or Greater for Pool Maintenance and Supplies
               http://www.broward.k12.fl.us/supply/agenda/18-
               145T_PoolMaintenanceAndSupplies.pdf;
           •   Regular School Board Meeting for April 24, 2018, item EE-3, Recommendation for
               Renewal and Additional Spending Authority - SOMAT Waste Disposal System
               Maintenance             and             OEM             Repair           Parts
               http://www.broward.k12.fl.us/supply/agenda/15-
               014B_SOMATWasteDisposal_MaintenanceRepair.pdf
           30. Through perusing the archived agenda documents, interested persons can ascertain

 what past policies and projects the School Board of Broward County have voted upon on

 important financial, administrative, and educational issues, which while voted upon in the past,

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 have a direct effect on current and future events in Broward County Public Schools.

        31. Defendant’s electronic documents contain a plethora of information regarding

 matters which affect the public directly such as related student and parent activities,

 fundraising, and academic resources.

        32. Through Defendant’s portal, interested persons can read Defendant’s electronic

 documents on demand.

        33. However, blind and/or visually impaired persons require screen reader software to

 read/comprehend (Defendant’s) electronic documents.

        34. Online “on-demand” viewing of the Defendant’s electronic documents is not an

 option available to persons with vision disabilities due to the fact that those documents are

 provided solely in a PDF flat surface format and do not interface with screen reader software as

 used by blind and visually impaired individuals. Plaintiff (who is legally blind) is as such an

 interested person.

        35. As an active and social South Florida resident, Plaintiff is interested in the quality

 of education the Broward County Public School system has to offer, with particular interest in

 School Board meetings and the policies and procedures discussed and debated in those

 meetings. Plaintiff is also interested in educating himself with the activities within the academic

 school year provided on Defendants website (which are in electronic document format) of

 Broward County Public Schools, which would make attending one of Defendants adult

 educational institutes a viable option.

        36. Therefore, in April, 2018, Plaintiff visited Defendant’s Website with the intent of

 educating himself about the quality of Broward County Public Schools educational system.

 This information is reflected in the current and historical legislative intent of the School Board


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  members. Plaintiff also wanted to find out more about programs, services and activities

  available to individuals who would like to attend one of the Defendant’s public educational

  institutions.

          37. Because Defendant’s electronic service and policy documents are not in an

  accessible format for the blind and visually impaired, and are not provided in accessible HTML

  format, Plaintiff was prevented from reading the electronic documents in order to become

  informed of services offered to the public by Defendant (such as school boundary maps, district

  publications, student and adult programs, and calendars) because of his vision disability. As

  such, Plaintiff was left excluded from participating in the community services, programs and

  activities offered by Broward County Public Schools in a manner equal to that afforded to

  others who are not similarly disabled.

          38. Therefore, on May 21, 2018 Plaintiff wrote a letter to Defendant and informed

  Defendant that he is legally blind and unable to fully access the electronic documents which

  Defendant provides to the public with his screen reader software. In that letter, Plaintiff

  requested Defendant’s electronic documents be provided in an accessible format for blind and

  visually impaired individuals (such as himself). Plaintiff made this request via U.S. mail

  service. Plaintiff’s letter of request is attached hereto as Exhibit A.

          39. As of the date of the filing of this Complaint, Defendant has not responded to

  Plaintiff’s request for accommodation.

          40. On June 30, 2018, Plaintiff again attempted to access Defendant’s electronic

  documents, but those electronic documents remained inaccessible as he still could not

  comprehend them with his screen reader software. It is sufficiently obvious that Plaintiff and

  others who are blind or low sighted need Defendant to properly save its documents so that they


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  are accessible on demand.

         41. Because Defendant’s electronic agenda documents are not in an accessible format,

  Plaintiff was prevented from becoming informed of the actions of the School Board members,

  learning about the direction of Broward County Public Schools on important social and

  educational issues, and from participating in the Defendant’s meetings. This exclusion resulted

  in Plaintiff suffering from feelings of segregation, rejection, and isolation as Plaintiff has been

  unable to participate in the affairs of Broward County Public Schools.

         42. Plaintiff continues to desire to partake in the programs, services, and activities of

  Broward County Public Schools as a resident of the state of Florida, but Plaintiff continues to

  be harmed due to his inability to avail himself of the programs, services, and activities due to

  his failure to comprehend the electronic documents Defendant provides to the public.

         43. Furthermore, Defendant has not provided any other auxiliary aid or service which

  would assist Plaintiff and/or similarly situated blind or visually impaired constituents to

  meaningfully access and fully comprehend Defendant’s electronic documents in the same

  manner as Defendant has made available to the non-disabled public.

         44. Because Defendant has not provided its electronic documents in an accessible

  format for the blind and visually impaired, Plaintiff has been prevented from becoming

  informed of Broward County Public School Boards’ functioning, policies, programs, services

  and activities as offered to the public by Defendant because of his vision disability. As such,

  Plaintiff was left excluded from participating in Broward County Public Schools the community

  services, programs and activities offered by Broward County Public Schools in a manner equal

  to that afforded to others who are not similarly disabled.

         45. Plaintiff’s inability to access Defendant’s electronic documents has resulted in a


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  virtual barrier which has impaired, obstructed, hindered, and impeded Plaintiff’s ability to

  become an involved citizen in Broward County Public Schools affairs (through Defendant’s

  agenda documents) and learn about the programs, services and activities available to students

  and parents of Broward County Public Schools (through Defendant’s electronic service and

  policy documents).

         46. On information and belief, since April, 2018 when Plaintiff first began to attempt to

  access and learn about Broward County Public Schools’ programs, services, and activities,

  Defendant has not made reasonable modifications to its policies and procedures to ensure future

  compliance with the ADA and/or the Rehabilitation Act. As of this filing, the electronic

  documents made available by Defendant remain inaccessible to Plaintiff as well as to other

  blind and visually disabled individuals.

         47. Plaintiff continues to desire to become involved in Broward County Public Schools’

  system by learning about the agenda items debated, discussed, and voted upon by the School

  Board members that affect him (as a potential student) and the Broward County Public Schools’

  community (past and current students/families). However, Plaintiff is unable to do so, as he is

  unable to comprehend the electronic agenda documents provided by Defendant for the public.

         48. In the near future, Plaintiff has concrete plans to read and comprehend the plethora

  of electronic agenda documents supplied by Defendant. However, Plaintiff is precluded from

  participation in the activities of the Broward County Public Schools’ system by learning about

  the agenda items debated, discussed, and voted upon by the Broward County Schools’ Board

  that affect him and the effect of the administrative process on the Broward County Public

  Schools’ community due to the unlawful barrier created by Defendant’s refusal to make its

  electronic agenda documents accessible.


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         49. Plaintiff (and others with vision impairments) will suffer continuous and ongoing

  harm from the Defendant’s omissions, policies, and practices regarding its electronic

  documents unless enjoined by this Court.

         50. Defendant has engaged (and continues to engage) in unlawful practices in violation

  of Title II of the ADA (see 42 U.S.C. §12132) and Section 504.

         51. Defendant’s unlawful practices include (but are not limited to) denying Plaintiff (an

  individual with a disability) the ability to participate in the Broward County Public Schools’

  community by failing to provide Plaintiff the ability to study and review Broward County Public

  Schools’ electronic documents in the same manner as provided to the sighted public.

         52. Defendant is deliberately indifferent to the provisions of the Rehabilitation Act and

  Title II of the ADA in regard to the unlawful practices described herein because Defendant is

  aware of the availability of computer programs, which allow Defendant to save electronic

  documents in an accessible format. Despite the ease of providing accessible electronic

  documents, Defendant has failed to reasonably modify its policies, processes and procedures for

  the same.

         53. As a result of Defendant's actions, Plaintiff has been damaged and has suffered

  injuries and shame, humiliation, isolation, segregation, experienced emotional suffering, pain

  and anguish.

         54. For all of the foregoing, Plaintiff has no adequate remedy at law.

         55. Plaintiff has retained Scott Dinin P.A. and J. Courtney Cunningham PLLC as his

  legal counsel in this action, and has agreed to pay a reasonable attorney fee.

                     COUNT I – VIOLATIONS OF TITLE II OF THE ADA

         56. The broad mandate of the ADA is to provide an equal opportunity for individuals


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  with disabilities to participate in and benefit from all aspects of American civic and economic

  life, and that mandate extends to public entities including Defendant, and the documents that

  Defendant provides to the public (including those documents provided in electronic document

  format).

         57. Title II of the ADA mandates that no qualified individual with a disability shall, by

  reason of such disability, be excluded from full and equal participation in or be denied the

  benefits of the services, programs, or activities of a public entity, or be subjected to

  discrimination by any such entity, 42 U.S.C. § 12132.

         58. Defendant Broward County Public Schools is an instrumentality of the State of

  Florida and a public entity under Title II of the ADA. A public entity includes any

  instrumentality of a state or local government. Therefore, Defendant is subject to Title II of the

  ADA. 42 U.S.C. §12131(1)(b).

         59. As a public entity, Defendant must:

                 a)       Provide full and equal enjoyment of its services, programs, and activities

         in the most integrated setting appropriate to people with disabilities. 42 U.S.C. §12131,

         et. seq.; 28 C.F.R. §35.130(a).

                 b)       Ensure that no individual with a disability is excluded, denied services,

         segregated, or otherwise treated differently than other individuals unless the public entity

         can demonstrate that taking those steps to modify policies, practices, or procedures would

         fundamentally alter the nature of the service, program, or activity; 28 C.F.R.

         §35.130(b)(7).

                 c)       Ensure that no individual with a disability is excluded, denied services,

         segregated or otherwise treated differently than other individuals unless the public entity



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         can demonstrate that legitimate safety requirements are necessary for safe operation. Any

         safety requirements must be based on actual risks and not on mere speculation,

         stereotypes, or generalizations about individuals with disabilities; 28 C.F.R. §35.130(h).

         60. Defendant’s document creation and storage on www.browardschools.com is a

  program, service, or activity within the definition of Title II of the ADA. Defendant makes

  information available in thousands of pages of documents available through its information

  portal through which the public can access electronic documents.

         61. Defendant failed to provide its electronic documents in a format accessible to

  visually impaired individuals who require screen reader software to comprehend those

  electronic documents despite the sufficiently obvious need to do so. Therefore, Plaintiff has

  been effectively denied access to those electronic documents by Defendant.

         62. By denying Plaintiff the opportunity to comprehend and benefit from its electronic

  documents due to Plaintiff’s disability (visual impairment), Defendant has denied Plaintiff the

  opportunity to participate in or benefit from the services, programs or activities afforded to non-

  disabled persons and persons who are not visually impaired.

         63. Providing electronic documents in a format that can be recognized by screen reader

  software, and therefore making those electronic documents accessible to the visually impaired

  would not result in any undue burden to Defendant.

         64. Providing electronic documents in a format that can be recognized by screen reader

  software thereby making those electronic documents accessible to the visually impaired would

  not fundamentally change the nature of Defendant’s services, programs, or activities.

         65. Defendant is required to provide full and equal enjoyment of its services, programs,

  and activities in the most integrated setting appropriate to people with disabilities. 42 U.S.C.


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  §12131, et. seq.; 28 C.F.R. Part 35.

         66. As a result of the virtual barriers within the electronic documents provided by

  Defendant, visually impaired individuals are denied the full and equal access to the services,

  programs, and activities offered by Broward County Public Schools in a manner equal to that

  afforded to others; in derogation of Title II of the ADA and Section 504.

         67. As a public entity, Defendant may not (directly or through contractual or other

  arrangements) utilize methods of administration that deny individuals with disabilities access to

  its services, programs, and activities or that perpetuate the discrimination of another public

  entity; 28 C.F.R. § 35.130(b)(3).

         68. As a public entity and pursuant to Title II, Defendant is required to make

  reasonable modifications in its policies, practices, or procedures when the modifications are

  necessary to avoid discrimination on the basis of disability, unless the public entity can

  demonstrate that making the modifications would fundamentally alter the nature of the service,

  program, or activity; 28 C.F.R. § 35.130(b)(7).

         69. Defendant is required to present the electronic documents it provides to the public

  in an accessible format in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability.

         70. Defendant’s failure to make its electronic documents accessible impedes Plaintiff

  (and similarly situated visually impaired individuals) from fully accessing the programs,

  services, and activities of Broward County Public Schools, as offered to interested persons so

  that they can participate in the business affairs of Broward County Public Schools (as afforded

  to the public), and enjoy the activities, services and programs provided by Broward County

  Public Schools. By such failure, Defendant has discriminated against the visually impaired.


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          71. Defendant is blatantly discriminating by its failure to provide accessible electronic

  documents for blind and visually impaired citizens. Defendant has violated Title II of the ADA

  in numerous ways, including discriminatory action, which occurred when the Defendant failed

  to maintain policies and procedures to ensure compliance with Title II of the ADA by creating

  barriers for individuals with disabilities who are visually impaired and who require the

  assistance of interface with screen reader software to comprehend and access Defendant’s

  electronic documents provided within its Website. These violations are ongoing.

          72. As a result of Defendant’s inadequate creation, development, and administration of

  Defendant’s electronic documents, Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C.

  § 12133 to remedy the discrimination.

       COUNT II – VIOLATION OF SECTION 504 OF THE REHABILITATION ACT

          73. Plaintiff is legally blind, which substantially limits him in his major life activity of

  seeing. Therefore, Plaintiff is an otherwise qualified individual with a disability under Section

  504 of the Rehabilitation Act.

          74. As an otherwise qualified individual, Plaintiff is expressly authorized under Section

  505 of the Rehabilitation Act, which enforces Section 504 of the Rehabilitation Act, 29 U.S.C.

  §§ 794 & 794(a), incorporating the remedies, rights and procedures set forth in Section 717 of

  the Civil Rights Act of 1964, including the application of §§ 706(f) - (k), 42 U.S.C. §§ 2000e

  (5)(f) - (k).

          75. On information and belief, Defendant is a recipient of federal financial assistance.

          76. Congress enacted the Rehabilitation Act in 1973 to enforce the policy of the United

  States that all programs, projects, and activities receiving federal assistance “. . . be carried out

  in a manner consistent with the principles of . . . inclusion, integration, and full participation of



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  the individuals [with disabilities].” 29 U.S.C. § 701(c)(3).

         77. Section 504 of the Rehabilitation Act, prohibits recipients of federal funding from

  discriminating against disabled persons and requires that programs or activities operated by a

  federally-funded entity be readily accessible to persons with disabilities; see 28 C.F.R. §

  42.520.

         78. Section 504 of the Rehabilitation Act, 29 U.S.C. § 794 requires that no otherwise

  qualified individual with a disability, on the basis of that disability, be excluded from

  participation in or be denied the benefit of the services, programs, activities, or to otherwise be

  discriminated against.

         79. The Rehabilitation Act defines “program or activity” to mean all of the operations

  of a department, agency, special purpose district, or other instrumentality of a state or of a local

  government. As Defendant is a local educational agency, Defendant’s creation, storage and

  providing electronic documents to the public through its Website is within the meaning of the

  Rehabilitation Act; 29 U.S.C. § 794(b)(1)(A).

         80. This denial of access to Defendant’s services, programs and/or activities has

  subjected Plaintiff to discrimination, excluded Plaintiff from participation in those services,

  programs and/or activities and denied Plaintiff the benefits of Defendant’s electronic

  documents.

         81. As       of    this     filing,   Defendant’s       electronic    documents       within

  www.browardschools.com remain inaccessible to persons with screen readers who are blind

  and/or low sighted but are accessible to persons without vision disabilities.

         82. Specifically, as related to violations of Section 504, blind and visually impaired

  individuals need to comprehend and access the electronic documents which Defendant provides


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  to the public. Yet, Defendant’s electronic documents are not saved in an accessible format

  which properly interfaces with screen reader software so that blind and visually impaired

  individuals are able to comprehend those documents.

          83. As a recipient of federal funds and pursuant to Section 504 the Defendant may not

  deny a qualified handicapped person the opportunity to participate in or benefit from the aid,

  benefit, or service; 45 CFR § 84.4 (b)(1)(i).

          84.    As a recipient of Federal funds and pursuant to Section 504 the Defendant may

  not afford a qualified handicapped person an opportunity to participate in or benefit from the aid,

  benefit, or service that is not equal to that afforded to others; 45 CFR § 84.4 (b)(1)(ii).

          85.    As a recipient of federal funds and pursuant to Section 504 the Defendant may not

  provide a qualified handicapped person with an aid, benefit, or service that is not as effective as

  that provided to others; 45 CFR § 84.4 (b)(1)(iii).

          86.    As a recipient of federal funds and pursuant to Section 504 the Defendant may not

  provide different or separate aid, benefits, or services to handicapped persons or to any class of

  handicapped persons unless such action is necessary to provide qualified handicapped persons

  with aid, benefits, or services that are as effective as those provided to others; 45 CFR § 84.4

  (b)(1)(iv).

          87.    Plaintiff has been denied the ability to comprehend electronic documents provided

  by Defendant, which would permit Plaintiff to access the programs, services and activities of

  Broward County Public Schools, as offered to residents and visitors. As a recipient of federal

  funds and pursuant to Section 504, Defendant may not otherwise limit a qualified handicapped

  person in the enjoyment of any right, privilege, advantage, or opportunity enjoyed by others

  receiving an aid, benefit, or service; 45 CFR § 84.4 (b)(1)(vii).


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          88.     As a recipient of federal funds and pursuant to Section 504, Defendant may not

  (directly or through contractual or other arrangements) utilize criteria or methods of

  administration: (i) that have the effect of subjecting qualified handicapped persons to

  discrimination on the basis of handicap, (ii) that have the purpose or effect of defeating or

  substantially impairing accomplishment of the objectives of the recipient's program or activity

  with respect to handicapped persons, or (iii) that perpetuate the discrimination of another

  recipient if both recipients are subject to common administrative control or are agencies of the

  same State; 45 CFR § 84.4 (b)(4).

          89.     As a recipient of federal funds and pursuant to Section 504, Defendant is required

  to evaluate (with the assistance of interested persons including handicapped persons or

  organizations representing handicapped persons) its current policies and practices and the effects

  thereof, that do not or may not meet the requirements of this part; 45 CFR § 84.6 (c)(1)(i).

          90.     As a recipient of federal funds, and pursuant to Section 504, Defendant is required

  to modify, after consultation with interested persons (including handicapped persons or

  organizations representing handicapped persons), any policies and practices that fail to meet the

  requirements of this part; 45 CFR § 84.6 (c)(1)(ii).

          91.     As a recipient of federal funds and pursuant to Section 504, Defendant is required

  to take, after consultation with interested persons (including handicapped persons or

  organizations representing handicapped persons), appropriate remedial steps to eliminate the

  effects of any discrimination that resulted from adherence to these policies and practices; 45 CFR

  § 84.6 (c)(1)(iii).

          92.     As a recipient of federal funds, and pursuant to Section 504, Defendant is required

  to designate at least one person to coordinate its efforts to adopt grievance procedures that



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  incorporate appropriate due process standards and that provide for the prompt and equitable

  resolution of complaints alleging any action prohibited by this part; 45 CFR § 84.7 (a) & (b).

            93.   Defendant has discriminated against Plaintiff (and other individuals with visual

  impairments) in the unequal provision of the electronic documents on www.browardschools.com

  which Defendant provides to the public.        As a result, Plaintiff has experienced exclusion,

  segregation, mental anguish, and humiliation in violation of his civil rights.

            94.   Defendant’s policies, practices and procedures, particularly the actions and

  omissions described above have violated Plaintiff’s rights under Section 504 by discriminating

  on the basis of a disability.

            95.   As a public entity, Defendant knows or should know of the 2003 guidelines

  provided by the Department of Justice related to providing information to the public in accessible

  format.

            96.   Defendant has failed to act on the likelihood of harm each time it has augmented

  or uploaded new documents on www.browardschools.com without addressing the accessibility

  of those electronic documents for blind and visually impaired individuals. Thus, Defendant has

  demonstrated deliberate indifference to Plaintiff’s federally protected rights in failing to provide

  equal access to its services, programs and/or activities for blind and visually impaired

  individuals.

            97.   Deliberate indifference plainly requires more than gross negligence Loeffer v

  Staten Island Univ. Hosp., 582 F.3d 268, 275 (2nd Cir. 2009). Deliberate indifference is a

  deliberate choice Bozeman v Orum, 422 F.3d 1265, 1271 (11th Cir. 2005).

            98.   Defendant clearly has made a choice on a daily basis in failing to provide

  effective communication (vis-a-vie its electronic documents on www.browardschools.com).



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  Defendant’s deliberate choice has demonstrated deliberate indifference (standard) thus showing

  intentional discrimination.

          99.     By      Defendant’s       failure    to   make    electronic     documents      on

  www.browardschools.com accessible or to otherwise respond to Plaintiff’s request for

  accommodation in a meaningful manner (as request was sent via U.S. mail to Defendant on May

  21, 2018) Defendant's actions further reflect Defendant’s deliberate indifference to the rights of

  the Plaintiff based on Plaintiff’s disability.

          100.    The ongoing and continuous act of failing to provide effective communication

  (related to the operation and maintenance of www.browardschools.com) goes beyond gross

  negligence. Thus, Defendant is in violation of Section 504 of the Rehabilitation Act. See: Liese

  v. Indian River County Hosp. Dist., 701 F.3d 334, (11th Cir. 2012).

          101.    The standard for deliberate indifference as set in Liese v Indian River County

  Hospital District, No. 10-15968 (11th Cir. Nov 13, 2012); See: “[D]eliberate indifference defined

  in the context as occurring when “the defendant knew that harm to a federally protected right

  was substantially likely and failed to act on that likelihood,” the Liese court, quoting from T.W.

  ex.rel. Wilson v. Sch. Bd of Seminole Cnty., Fla., 610 F.3d at 604 (11th Cir.2010); accord Loeffler

  v. Staten Island Univ. Hosp., 582 F.3d 268, 275 (2d Cir.2009); Barber ex rel. Barber v. Colo.

  Dep't of Revenue, 562 F.3d 1222, 1228–29 (10th Cir.2009); Duvall v. Cnty. Of Kitsap, 260 F.3d

  1124, 1139 (9th Cir.2001); see Fig. 1




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                                            Fig. 1

         102.    As a result of Defendant's actions, Plaintiff has been damaged and has suffered

  injuries and shame, humiliation, isolation, segregation, experienced emotional suffering, pain

  and anguish and has been segregated and prohibited from enjoying the programs, services and

  activities offered by Broward County Public Schools to residents and visitors (through the

  knowledge gained from its electronic documents and through participating in Broward County

  Public Schools)

         103.    Plaintiff is entitled to damages pursuant to Section 504 because of Defendant’s

  deliberate indifference to the inaccessibility of the electronic documents it provides to the public,

  despite Plaintiff’s request for accommodation.

         104.       Plaintiff has been obligated to retain the undersigned counsel for the filing and

  prosecution of this action. Plaintiff is entitled to have reasonable attorneys’ fees, costs and

  expenses paid by Defendant Broward County Public Schools.

         105.    For all of the foregoing, Plaintiff has no adequate remedy at law

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, Juan Carlos Gil, hereby demands judgment against Defendant

  Broward County Public Schools including a declaratory judgment, pursuant to Rule 57 of the

  FRCP stating that the Defendant’s practices, policies, and procedures have subjected Plaintiff to


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  discrimination in violation of Title II of the ADA and Section 504 of the Rehabilitation Act, to

  permanently enjoin Defendant Broward County Public Schools from any practice, policy and/or

  procedure which will deny Plaintiff equal access to the services, programs and activities offered

  by Defendant Broward County Public Schools to residents and visitors and in participating in the

  local educational agency of Broward County Public Schools’ Board, as well as:

         a)     issue a declaratory judgment that Defendant has violated the Plaintiff’s rights as

                guaranteed by Title II of the ADA and Section 504 of the Rehabilitation Act;

         b)     The Court enter an Order requiring Defendant to update all electronic documents

                made available to the public to remove barriers in order that individuals with

                visual disabilities can access the electronic documents to the full extent required

                by Title II of the ADA and Section 504 of the Rehabilitation Act;

         c)     enter an Order pursuant to 42 U.S.C. § 12188(a)(2) for permanent injunction

                which directs Defendant to take all steps necessary to bring the electronic

                documents which it provides on its electronic media into full compliance with the

                requirements set forth in the ADA, and its implementing regulations, so that all

                electronic documents are fully accessible to, and independently usable by, blind

                and low sighted individuals, and which further directs that the Court shall retain

                jurisdiction for a period to be determined to ensure that Defendant has adopted

                and is following an institutional policy that will in fact cause Defendant to remain

                fully in compliance with the law;

              d) Order Defendant to retain a qualified consultant acceptable to Plaintiff

                 (“Mutually Agreed Upon Consultant”) who shall assist it in improving the

                 accessibility of its electronic documents, so they are accessible to individuals



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                 with visual disabilities who require those electronic documents to be in

                 accessible format or provided in HTML format;

         e)     Order Defendant to engage a (mutually agreed upon) Consultant to perform an

                automated accessibility audit on a periodic basis to evaluate whether Defendant’s

                electronic documents to be accessible to individuals with visual disabilities who

                require those documents to be in accessible format or provided in HTML format;

         f)     award damages in an amount to be determined at trial;

         g)     award Plaintiff reasonable litigation expenses and attorneys’ fees; and

         h)     award such other and further relief as it deems necessary, just and proper.

  Dated this 5th day of September, 2018.

                                       Respectfully submitted,
                                           s/Scott Dinin
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